759 F.2d 674
    1985-1 Trade Cases   66,565
    Barry BRAZIL and Patsie Brazil, d/b/a American DentureCenter, Dr. Neil Hinsley, Carol Ann Bender,Georgia Stahn, and John Stahn, Appellants,v.ARKANSAS STATE BOARD OF DENTAL EXAMINERS, J.D. Atkinson,Taylor D. Buntin, Jr., Paul Fitzgerald, Earl Gill, Fallon D.Davis, Patsy C. Farris, Arkansas State Dental Association,Charles Finely, Don H. Barrow, L.V. Clement, Tommy G.Roebuck, George E. Gillian, and R.L. Smith, Jr., Appellees.
    No. 84-2247.
    United States Court of Appeals,Eighth Circuit.
    Submitted April 12, 1985.Decided April 17, 1985.
    
      On Appeal from the United States District Court for the Eastern District of Arkansas;  G. Thomas Eisele, District Judge.
      Ronald J. Bruno, Little Rock, Ark., for appellants.
      William Dean Overstreet, Little Rock, Ark., for appellees.
      Before ARNOLD and FAGG, Circuit Judges, and HARPER,* Senior District Judge.
      PER CURIAM.
    
    
      1
      Barry Brazil, the principal plaintiff in this case, brought this action against the Arkansas State Board of Dental Examiners, a state agency, and the Arkansas State Dental Association under the Sherman Antitrust Act, 15 U.S.C. Secs. 1 and 2, and the Constitution of the United States.  Plaintiff owns and operates a dental laboratory, the American Denture Center, which constructs, repairs, reproduces, duplicates, and processes dentures.  He describes himself as a "denturist."    The complaint's antitrust and constitutional claims challenge certain regulations issued by the Arkansas State Board of Dental Examiners, at the instance, it is alleged, of the Arkansas State Dental Association.  These regulations, among other things, define the practice of dentistry, which the board regulates under state law, to include the construction of dentures.  The regulations provide that no one may construct a denture "without written prescription or work order therefor signed by [a] dentist."    Rule 5(f) of the Dental Board.  Plaintiff claims, in addition, that the regulations have the effect of prohibiting the making of dentures by anyone not employed by a licensed dentist.
    
    
      2
      The main question presented is whether the defendant Board's issuance of these regulations, at the instance of the defendant association, is immune from antitrust attack under the state-action doctrine.  The District Court1, 593 F.Supp. 1354, held in favor of the immunity defense.  Its opinion is comprehensive and discriminating, and we have nothing of substance to add.
    
    
      3
      We have considered appellants' other arguments and hold that they are without merit.
    
    
      4
      Affirmed.
    
    
      
        *
         The Hon. Roy W. Harper, Senior United States District Judge for the Eastern and Western Districts of Missouri, sitting by designation
      
      
        1
         The Hon. Garnett Thomas Eisele, Chief Judge, United States District Court for the Eastern District of Arkansas
      
    
    